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STATE OF SOUTH CAROLINA                          )
                                                            FIRST AMENDED AND RESTATED ASSET
                                                 )
                                                                   PURCHASE AGREEMENT
COUNTY OF CHARLESTON                             )



THIS FIRST AMENDED AND RESTATED ASSET PURCHASE AGREEMENT (the
“Agreement”) is made and entered into, on June 25, 2020 (the “Modification Date”), by and between
Watertech Holdings, LLC (f/k/a Watertech Equipment and Sales, LLC), a South Carolina limited liability
company (“Watertech” and/or the “Seller”), and Watertech Asset Acquisition Group, LLC, a South
Carolina limited liability company (the “Buyer”). The Seller/Watertech and the Buyer are referred to
herein each individually as a “Party” and collectively as the “Parties”.

                                        R–E–C–I–T–A–L–S

WHEREAS, the Parties entered into that certain original Asset Purchase Agreement dated January 23,
2020 (the “Original Agreement”); and

WHEREAS, Watertech was formerly engaged in various commercial concerns and owns certain assets
incidental thereto (as more particularly described and set forth herein) all under the business and
tradename “Watertech” (such business and assets are collectively referred to herein as the “Business”);
and

WHEREAS, Watertech has filed a Chapter 11 case (the “Case”) in the U.S. Bankruptcy Court for the
District of South Carolina (the “Court”) (Case No. 20-00662-jw) under 11 U.S.C. Section 101, et seq.
(the “Code”), and wishes, thereby, to sell and transfer all of its right, title and interest in and to the Business
and the Assets, as expressly defined herein below, free and clear of all liens, claims or interests pursuant
to a final and unappealable Order of the U.S. Bankruptcy Court (“Order”) under Section 363 of the Code
(the “Sale”); and

WHEREAS, third-parties, creditors, and the US Trustee, objected to various matters set forth in the
Original Agreement (the “Objections”); and

WHEREAS, the Buyer has chosen to address said Objections directly by proffering this First Amended
and Restated Asset Purchase Agreement for acceptance and ratification by the Seller (and subject to
approval by the Court); and

WHEREAS, the Buyer is now offering additional consideration in exchange for removing certain other
consideration from the Original Offer that were deemed controversial and subject to the Objections.

NOW THEREFORE, BY THESE PRESENTS, in consideration of the premises set forth herein above
and the mutual covenants and promises of the Parties set forth herein below, and for other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties hereby
agree as follows:

1.      Purchase and Sale of Assets. Subject to the terms and conditions contained herein, the Seller
hereby sells, assigns, transfers, conveys and delivers to Buyer, and the Buyer hereby purchases from the
Seller, all of Seller’s collective or individual rights, titles and/or interests in and to the all of its “Assets”

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in the Sellers possession on the Closing Date UNLESS expressly excluded in this Agreement or pursuant
to the Buyer’s Exclusion Right, as set forth herein, including but not necessarily limited to:

       (a)    All that certain tangible and intangible personal property used by the Seller in the conduct
              of the Business, to be described further at a later date; and

       (b)    All right, title, and interest in and to any of Seller’s designs, schematics, inventions, patents,
              trademarks, source code, software, applications, electronics, equipment, supplies,
              machinery or other assets used to conduct the Business, to be described further at a later
              date; and

       (c)    All codebase/software incidental or related to, and all other content relate to the Business,
              including without limitation environmental and hazard remediation technology details,
              marketing collateral, lists, customer lists, customer leads, infrastructure accounts, or any
              other information and/or assets determined by Buyer to be necessary or required to operate
              the Business as of the Closing Date, in each case as same exists on and as of the Closing
              Date; and

       (d)    All accounts receivable of Seller and the Business in existence on and as of the Closing
              Date (the “Watertech A/R”); and

       (e)    Any and all goodwill associated with the Business and/or the Assets (collectively, the
              “Goodwill”); and

       (f)    All right, title, and interest in and to Seller’s trade and business names and logos for or
              relating to the Business, including without limitation any actual formal trademark filings
              or registrations with the U.S. Patent and Trademark office and any common law trademarks
              or tradedress, to be described further at a later date (collectively, the “Tradedress”); and

       (g)    All right, title, and claim in and to Seller’s intellectual property used for, in or in any way
              relating to the Business, including without limitation any actual formal patent filings or
              registrations with the U.S. Patent and Trademark office, including, to be described further
              at a later date (collectively, the “Technology IP” and the Technology IP and the
              Intellectual Property are collectively referred to herein as the “Intellectual Property”).

       (h)    All right, title, interest and/or claim in or to that certain 5% profit-share vested in Watertech
              by NanoPure, LLC that resulted from the full and final transfer of that certain exclusive
              license from the Battelle Memorial Institute, having a place of business in Richland,
              Washington (the “Battelle License”) to NanoPure, LLC (the “Battelle Profit-Share”);
              and

       (i)    All right, title, interest and/or claim in or to any consideration owed or profit-share (if any)
              other than the Battelle Profit-Share, under that certain Exclusive Patent Sublicense
              Agreement dated October 31, 2017, as amended from time-to-time; and

       (j)    All right, title and interest in and to the Watertech telephone numbers; the Watertech
              internet website domains, and domain specific email addresses, and the accounts related
              thereto, used in the Business, to be described further at a later date (collectively, the
              “Telephone and Internet Assets”); and



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        (k)           All business records, books and data in the possession of or used by Seller in the Business,
                      including customer files, customer lists, correspondence with customers and account
                      histories, sales literature and promotional or other material, and documents relating to the
                      Intellectual Property, applications, code, software, materials, supplies and services; and

        (l)           Those matters on the attached Exhibit 1; and

        (m)           Notwithstanding anything to the contrary contained herein, any and all properties and
                      claims without exception unless specifically excluded herein.

Transfer of the Seller’s collective rights, titles and interests in and to the Assets shall be pursuant to a bill
of sale which shall be executed and delivered on the Closing Date.

2.     Excluded Assets. Notwithstanding the foregoing, the following assets shall be excluded from the
Assets, and shall be retained by the Seller from and after the Closing Date (collectively, the “Excluded
Assets”): cash and cash equivalents held by, or held in the bank accounts of, the Seller as of the Closing
Date. Any causes of action under Chapter 5 of the Bankruptcy Code.

3.      Liabilities.

        (a)           No Assumption of Liabilities. Save and except for the Post-Closing Business Obligations
                      (if any) to be described further at a later date, the Seller expressly acknowledges and agrees
                      that the Buyer does not assume and does not agree to assume, and hereby disclaims all
                      liability or obligation for, any and all liabilities or obligations of Seller, whether direct or
                      indirect, known or unknown, absolute or contingent, of any type or nature whatsoever,
                      including but not limited to the following liabilities (all, collectively, the “Excluded
                      Liabilities”):

               (i)           any claim, liability or obligation for breach or default of any of the contracts of the
                             Seller or the Business, except for the Post-Closing Business Obligations; and

              (ii)           any other obligations or liabilities of Seller or the Business, of any type or nature
                             whatsoever, including without limitation those which pertain or relate to: (A) assets
                             other than the Assets; (B) liabilities of Seller other than those included in the Post-
                             Closing Business Obligations; (C) any business operations of Seller prior to the
                             Closing Date (including without limitation operations relating to the Business); and
                             (D) any non-Business operations of Seller at any time prior to or after the Closing
                             Date; and

              (iii)          any foreign, federal, state, county or local income, excise, withholding, property,
                             sales, use, franchise or other taxes of any of the Seller, or of the Business, accrued,
                             due and/or owing before the Closing Date; and

              (iv)           any costs and expenses incurred by Seller and/or the Business incident to the
                             negotiation and preparation of this Agreement and the consummation of the
                             transactions contemplated hereby; and

               (v)           save and except for the tax liabilities specifically attributable to Buyer as set forth
                             in Section 10 below, any tax liability of Seller, or the Business, resulting from the
                             transactions contemplated herein, including, without limitation, any recapture by
                             Seller or the Business of investment tax credit or depreciation; and

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            (vi)          any claim, demand, or cause of action, of any kind, not assumed as part of the Post-
                          Closing Business Obligations, relating to: (A) the ownership, control or operation
                          of the Business at any time prior to or after the Closing Date; or (B) the ownership,
                          control or operation of non-business operations of Seller at any time prior to or after
                          the Closing Date; and

            (vii)         any wages, salary, severance, compensation, payments, bonuses, commissions,
                          vacation or holiday pay, medical benefits, post-retirement medical benefits, fringe
                          benefits, long-term disability benefits, life insurance benefits, any duties,
                          obligations or liabilities arising under any employee benefit plan, policy or practice,
                          whether defined by Section 3(3) of the Employee Retirement Income Security Act
                          of 1974, as amended and in effect (“ERISA”) or otherwise, relating to the
                          employees or independent contractors of the Business; and

        (viii)            any wages, salary, severance, compensation, bonuses, commissions, vacation or
                          holiday pay, medical benefits, post-retirement medical benefits, fringe benefits,
                          long-term disability benefits, life insurance benefits, any duties, obligations or
                          liabilities arising under any employee benefit plan, policy or practice, whether
                          defined by Section 3(3) of ERISA or otherwise, accruing at any time prior to or
                          after any date of Closing and/or relating to any employees or independent
                          contractors of Seller’s non-Business operations; and

            (ix)          save and except for those items assumed as part of the Post-Closing Business
                          Obligations, any other amounts due to any employees or former employees or
                          independent contractors of Seller and/or the Business; or

             (x)          any other liability or obligation of Seller or the Business, of any type or nature
                          whatsoever, save and except for those items assumed as part of the Post-Closing
                          Business Obligations, arising or accruing prior to or after the Closing Date.

      (b)          Assumed Liabilities. Buyer shall only assume, as post-closing business obligations, the
                   performance obligations of Seller and the Business to be described further at a later date,
                   but Buyer shall NOT assume any other or further liabilities or obligations of Seller of any
                   type or nature whatsoever (the “Post-Closing Business Obligations”). Except for the
                   Post-Closing Business Obligations, any and all other liabilities or obligations of Seller
                   and/or the Business shall at all times be and remain the sole and exclusive liabilities and
                   obligations of Seller, and thus are hereby disclaimed in entirety and in perpetuity by the
                   Buyer. Buyer’s assumption of the Post-Closing Business Obligations shall be
                   memorialized by an assignment and assumption agreement.

4.     Purchase Price; Purchase Price Apportionment; Other Terms. The “Purchase Price” for the
purchase and sale of the Assets and the assignment and assumption of the Post-Closing Business
Obligations shall be due, payable, allocable and creditable as follows.

      (a)          Closing Date Payment. The sum of One Hundred Fifteen Thousand Dollars and 00/100
                   US dollars ($115,000.00) shall be due and payable by the Buyer to Seller on and as of the
                   Closing Date (the “Purchase Price” aka the “Closing Date Payment”). This Closing Date
                   Payment is subject to increase due to the need to auction this property through the
                   bankruptcy process. In the event there is competitive bidding, and Buyer is the winning


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                bidder, this Closing Date Payment is subject to increase due to said bidding and will be set
                and established in the amount of Buyer’s winning bid.

  (b)           The Purchase Price shall be apportioned in such manner and amounts to be described
                further by the Buyer at a later date.

  (c)           The Purchase Price stated above is not refundable, save and except for the
                requirement that this Agreement is approved by the Court pursuant to a non-
                appealable final Order as the first and only agreement. However, notwithstanding
                anything to the contrary contained herein, if for any reason this Agreement is not
                approved by the Court as the first and only agreement, then in the Buyer’s sole
                discretion the Agreement may either be withdrawn in its entirety or maintained as a
                back-up contract; and in either of those events, the Purchase Price becomes fully
                refundable unless this Agreement is ultimately consummated at Closing. Further, if
                the Buyer’s Agreement does not close because another contract was approved by the
                Court and ultimately closed, then the Buyer shall be entitled to a return of the $10,000
                of earnest money paid to secure Seller’s patent ______ plus its reasonable legal fees
                not to exceed an additional $10,000 (subject to Court approval) for its efforts in
                procuring the Agreement and participating in the Case, all to be paid at Closing by
                the Seller.

  (d)           The Closing Date Payment was escrowed with counsel for the Buyer prior to the Seller
                filing a petition for relief under Chapter 11 of the Bankruptcy Code. Such escrow of the
                Closing Date Payment is a material term of this agreement such that any upset bidder will
                be required to similarly escrow funds to be considered a qualified competing bidder.

  (e)           The Buyer hereby reserves the right to modify, and thereby increase, the consideration set
                forth herein above by including any additional valuable consideration the Buyer may so
                choose to offer – including, but not limited to, the forgiveness of debt and the value of
                judgements.

  (f)           Buyer has removed several items of consideration that were present in the Original
                Agreement. Notwithstanding the foregoing, the Buyer specifically reserves the right to
                include certain of said items should the need arise during the bidding process. Said
                reservations are set forth and outlined herein below:

         (i)           The Post-Closing Payments outlined in the Original Agreement are removed but
                       may be included as part of a future bid submitted by Buyer.

        (ii)           The right to waive the claim asserted by David Pobiak, in the approximate amount
                       of $175,000.00, is reserved and said claim may be waived in full or in part.

        (iii)          In response to the objections submitted by Scott Alderson’s former spouse, the right
                       to waive the claim payable to Mr. Alderson is NOT reserved and said claim will
                       not be waived as part of this sale agreement.

        (iv)           In response to the objections submitted by Scott Alderson’s former spouse, the right
                       to waive the claim payable to Global Financial Services, LLC, in the approximate
                       amount of $625,200.00, is NOT reserved and said claim will not be waived as part
                       of this sale agreement.


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       (g)           As further consideration to the Seller in exchange for these concessions to the contract,
                     Buyer is offering to increase the purchase price to $250,000, which is five bid increments,
                     as that is set out in the Bid Procedures order entered by the Court in the bankruptcy Case
                     of Seller. If Buyer is the successful bidder that would mean that the Closing Date Payment
                     would be $240,000 (which does not include the already paid $10,000 to secure the Debtor’s
                     patent) and would include the $115,000 currently held as earnest money by the Debtor’s
                     attorney. Buyer will bring an additional $125,000 to closing to bring its starting bid to the
                     total of $250,000.

5.      Closing Date. The Parties acknowledge and agree that the closing of the transactions contemplated
by this Agreement, including its exhibits, (the “Closing”) will occur within 20 business days after the
entry of the Order approving this Agreement and the underlying Sale (the “Closing Date”).

6.      Right of Exclusion. If, following the Chapter 11 filing by Watertech, the Buyer chooses to exclude
one or more asset from the Assets (the “Exclusion Right”), then the Buyer agrees to provide Seller with
express written notice of any said excluded Asset (the “Exclusion Notice”). However, if no such notice
is provided, then all Assets as previously described herein that exist on the Closing Date will be the final
list of Assets. Notwithstanding anything herein to the contrary, if any Assets become subject to the
Exclusion Right, then the Buyer agrees that the Purchase Price shall remain unchanged and without set-
off.

7.    Representations and Warranties and Covenants of Seller. Seller jointly and severally represent
and warrant to Buyer as follows:

       (a)           Organization. Watertech is a limited liability company duly organized, validly existing
                     under the laws of the State of South Carolina.

       (b)           Authority.

              (i)           Seller has the full power and authority to enter into this Agreement, to consummate
                            the transactions contemplated hereby and to comply with the terms, conditions and
                            provisions hereof. The execution, delivery and performance of this Agreement by
                            Watertech has been duly authorized and approved by all requisite corporate action,
                            subject to the entry of the Order.

             (ii)           The execution, delivery and performance of this Agreement and the consummation
                            of the transactions contemplated hereby or compliance with or fulfillment of the
                            terms and provisions hereof or of any other agreement or instrument contemplated
                            hereby, do not and will not conflict with or result in a breach of any agreement to
                            which any of Seller or the Business is a party.

             (iii)          This Agreement has been duly executed and delivered by Seller and is the legal and
                            valid obligation of Seller enforceable against Seller in accordance with its terms,
                            subject to the jurisdiction of the Court and the entry of the Order.

       (c)           Litigation. Watertech filed a petition for relief under chapter 11 of the United States
                     Bankruptcy Code and is currently effectuating a sale under the oversight of the Bankruptcy
                     Court. Watertech is also the plaintiff derivative shareholder action styled as Watertech
                     Holdings, LLC f/k/a Watertech Equipment and Sales, LLC by and through its members
                     David L. Stern and David V. Pobiak v. Glenn I. Barrett, Keith J. Johnson, Eric Frische,
                     Robert Fei, Tectrucks, LLC, Rivendell, LLC, Barron Algae, LLC and Cleanstrike, LLC,

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           Case No.: 2018-CP-10-3412 pending before the Charleston County Court of Common
           Pleas (the “Derivative Action”). With the exception of the matters disclosed herein, there
           exists no litigation, action, suit, claim or proceeding pending, or to the knowledge of any
           of the Seller threatened, against or affecting the Business, the Assets and/or the Post-
           Closing Business Obligations, at law or in equity, before any mediator, arbitrator, court or
           governmental authority.

  (d)      Taxes. “Tax Returns” means all returns, reports, statements, and forms required to be
           filed in respect of any tax due to a municipal authority.

        (i)       Save and except for any taxes owed by Buyers with respect to the purchase and sale
                  transaction set forth herein, or any taxes for which the Buyer is obligated hereunder,
                  Seller has paid, or will pay when due or finally settled (or treated through Seller’s
                  bankruptcy), all taxes relating to the Business that are or become due and payable,
                  for all periods up to and including the Closing Date, or that may be occasioned at
                  any time by the payment of the Purchase Price by Buyer. Seller will file all Tax
                  Returns relating to the Business, for all periods up to and including the Closing
                  Date.

        (ii)      There are no liens for such taxes on the Assets or the Business.

  (e)      Title to Properties; Encumbrances; Sufficiency of Assets. Seller, as applicable, has good,
           valid and marketable title to its respective assets that form the Assets. None of the Assets
           are subject to any mortgage, pledge, lien, security interest, encumbrance or charge of any
           kind. Seller has the complete and unrestricted power and the unqualified right to sell,
           assign, transfer and deliver to Buyer subject to the jurisdiction of the Court and the entry
           of the Order, and Buyer is acquiring, good, valid and marketable title to, the Assets, free
           and clear of all mortgages, pledges, liens, security interests, conditional sales agreements,
           encumbrances, claims or charges of any kind pursuant to the Order. The Bill of Sale,
           Assignment and Assumption Agreement, and the deeds, endorsements, assignments and
           other instruments being executed and delivered to Buyer by Seller at the Closing are valid
           and binding obligations of the Seller, enforceable in accordance with their terms, and will
           effectively vest in Buyer good, valid and marketable title to all the Assets and assign to
           Buyer the Post-Closing Business Obligations. To Seller’s knowledge, Seller’s Assets and
           Business operations do not infringe upon the rights of any third-party, including without
           limitation upon the intellectual property rights of any third-party.

  (f)      Ordinary Course Operations; Financials. The Seller has ceased conducting the Business in
           the ordinary course, and there has not occurred with respect to the business any material
           adverse change or event since that date. The financial data and other information provided
           to Buyer in the context of due diligence, as delivered to Buyer prior to the Closing of this
           Agreement, are true and correct in all material respects, and reflect the actual financial
           status, working capital, profits and losses, and the status of the Business as of the dates
           such documents were provided to Buyer.

  (g)      Consents. Except the Bankruptcy Court’s approval of Watertech’s motion to sell assets
           based upon this APA, no consent(s) are required from any third-party person or entity to
           authorize the transactions contemplated by this Agreement, including without limitation
           the purchase and sale of the Assets and the assignment and assumption of the Post-Closing
           Business Obligations (collectively, the “Consents”). Seller covenants and agrees to obtain
           and deliver to Buyer at Closing all Consents (if any), the delivery of which at Closing shall

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                     be a condition precedent to Buyer’s performance of the terms and conditions of this
                     Agreement and Buyer’s consummation of a Closing hereunder.

       (h)           No Reliance. Except for the representations and warranties contained in this Agreement,
                     Buyer has not relied upon, and has not been induced to enter into this Agreement by, any
                     other representations or warranties or any other information made on behalf of any of the
                     Seller. The Parties, with their consultants and representatives, are sophisticated business
                     persons, and have had opportunity to be represented by their own counsel.

       (i)           Post-Closing Operations. Post-closing, the Seller will cease operations except for the
                     purposes of closing the Bankruptcy case and assisting the Buyer, at the buyers expense, in
                     any reasonable matters it may require that involve the Assets.

8.     Representations and Warranties of Buyer. Buyer represents and warrants to Seller as follows:

       (a)           Organization. Buyer is a limited liability company duly organized and validly existing and
                     in good standing under the laws of the State of South Carolina. Buyer has the power and
                     authority to own its own properties and assets and to carry out its businesses and operations.

       (b)           Authority.

              (i)           Buyer has the full power and authority to enter into this Agreement, to consummate
                            the transactions contemplated hereby and to comply with the terms, conditions and
                            provisions hereof. The execution, delivery and performance of this Agreement by
                            Buyer has been duly authorized and approved by all requisite action.

             (ii)           The execution, delivery and performance of this Agreement and the consummation
                            of the transactions contemplated hereby or compliance with or fulfillment of the
                            terms and provisions hereof or of any other agreement or instrument contemplated
                            hereby, do not and will not conflict with or result in a breach of any agreement to
                            which Buyer is a party.

             (iii)          This Agreement has been duly executed and delivered by Buyer and is the legal,
                            valid and binding obligation of Buyer enforceable against Buyer in accordance with
                            its terms, subject to the jurisdiction of the Court and the entry of the Order.

       (c)           Litigation. There exists no known litigation, action, suit, claim or proceeding pending
                     against or affecting Buyer, at law or in equity, before any court or governmental authority
                     other than as disclosed herein.

       (d)           No Reliance. Except for the representations and warranties contained in this Agreement,
                     Buyer has not relied upon, and has not been induced to enter into this Agreement by, any
                     other representations or warranties or any other information made on behalf of Seller. The
                     Parties with their consultants and representatives are sophisticated business persons, and
                     have had opportunity to be represented by their own counsel.

9.     Conditions to Closing.

       (a)           The obligations of Buyer to be performed under this Agreement and its exhibits are subject
                     to the fulfillment, on or before the Closing Date, of the following conditions precedent:


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          (i)         Representations and Warranties Correct. All representations and warranties of
                      Seller made in this Agreement or in any certificate, schedule, instrument or other
                      document delivered pursuant to this Agreement or in due diligence in advance of
                      the execution of this Agreement shall be true and correct in all material respects,
                      including without limitation relating to financial performance and status of the
                      Business and as if made and/or updated on and as of the Closing Date.

         (ii)         Performance. Seller shall have performed and complied with all covenants, terms
                      and conditions required by this Agreement to be performed or complied with by
                      Seller prior to or on the Closing Date, in all material respects, including obtaining
                      the Order.

        (iii)         [INTENTIONALLY OMITTED]

        (iv)          Company Proceedings. Watertech shall have delivered to Buyer copies of
                      resolutions of such Seller, sufficient in the judgment of Buyer’s counsel to authorize
                      the performance of the transactions hereunder by Watertech.

         (v)          Other Consents. All Consents and approvals necessary for the valid consummation
                      of the transactions contemplated by this Agreement and its exhibits, if any, shall
                      have been obtained by Seller and delivered to Buyer, and all certifications and
                      assurances reasonably required by Buyer with respect thereto shall have been
                      obtained and delivered.

        (vi)          Adverse Proceedings. No action, suit, or proceeding shall be pending or threatened
                      before any court or quasi-judicial or administrative agency of any federal, state,
                      local, or foreign jurisdiction or before any arbitrator relating to the Assets and/or
                      the Business and/or any Post-Closing Business Obligations other than those
                      disclosed in this Agreement.

        (vii)         Searches. Buyer shall procure, at Buyer’s sole expense, the following: UCC, lien,
                      judgment, tax and bankruptcy searches as against each of the Seller and the
                      Business, prior to the Closing; and the Seller represents that such searches shall
                      show no liens, judgments, taxes due or bankruptcies except the Case within five (5)
                      business days of the Closing Date, and showing that there are no liens against the
                      Assets that are not being released as part of the Court order approving this sale.

    (viii)            Sales Taxes. Any sales tax delinquency of Seller, relating to the Business, from
                      any time or period, shall be paid in full by Seller in advance of Closing.

  (b)           The obligations of Seller to be performed under this Agreement are subject to the
                fulfillment, on or before the Closing Date, of the following conditions precedent:

          (i)         Representations and Warranties Correct. All representations and warranties of
                      Buyer in any certificate, exhibit, schedule, instrument or other document delivered
                      pursuant to this Agreement, shall be true and correct in all material respects as if
                      made on the applicable date of Closing.

         (ii)         Performance. Buyer shall have performed and complied with all covenants, terms
                      and conditions required by this Agreement to be performed or complied with by it
                      prior to or on the applicable date of Closing.

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              (iii)          Company Proceedings. If reasonably requested by Seller in writing prior to the
                             Closing Date, Buyer shall have delivered to Seller copies of resolutions and other
                             company proceedings of Buyer sufficient to authorize the transactions by Buyer
                             hereunder.

10.     Sales Tax Compliance. Buyer and Seller shall cooperate to comply with all applicable state sales
tax/bulk sales laws, including, without limitation, Section 1141(c) of the South Carolina State Tax Law
and any commensurate laws of the State of South Carolina. Buyer shall file any notices required to be
provided to the South Carolina State Department of Taxation Bulk Sales Unit or any commensurate
Agency in the State of South Carolina (each, a “Bulk Sales Unit”) at least ten (10) business days prior to
the Closing Date (each, a “Bulk Sales Filing”). In the event a Bulk Sales Filing identifies sales tax
remittance delinquencies by any Seller and/or the Business (any, a “Sales Tax Delinquency”), Seller shall
jointly and severally be liable for and immediately pay and resolve the Sales Tax Delinquency directly
with the applicable state agency, such that all Sales Tax Delinquency is paid in full and a release thereon
received from the applicable state tax department, on or prior to the Closing Date. Seller shall, jointly and
severally, defend, indemnify and hold harmless Buyer from and against any and all Sales Tax
Delinquency, in perpetuity and in entirety and whether arising prior to or after any Closing, and Buyer
may set-off against the Watertech Payments for any such liabilities incurred. In the event a Bulk Sales
Filing generates sales taxes due as a result of the purchase and sale of tangible non-exempt Assets, such
sales tax payment obligation shall be the responsibility of Seller, which shall tender payment of same
contemporaneously with the Closing.

11.     Other Agreements.

        (a)           Further Assurances. From time-to-time after the execution of this Agreement, Seller and
                      Buyer shall execute and deliver to other Party such other instruments of conveyance and
                      transfer and such other documents as Buyer or Seller may reasonably request or as may be
                      otherwise necessary to more effectively consummate the transactions contemplated by this
                      Agreement, including without limitation the conveyance and transfer of the Assets to, and
                      vesting of the Assets in, Buyer, and to put Buyer in possession of the Assets and each part
                      thereof.

        (b)           Negotiated Agreement. This Agreement and the instruments to be executed pursuant to
                      this Agreement are the result of negotiations between Seller and Buyer. Accordingly, none
                      of the foregoing Parties shall be deemed to be the author of this Agreement or the resulting
                      documents, and there shall be no presumption that this Agreement or any of such
                      documents are to be construed for or against any such Party on the basis of the authorship
                      of the documents.

12.     Intentionally Omitted.

13.     Closing Documents

        (a)           Seller’s Obligations. On the Closing Date, Seller shall deliver to Buyer physical possession
                      of all Assets, and shall execute and/or deliver to Buyer all of the following:

               (i)           Resolutions. Copies of resolutions of Watertech certified by the president/manager
                             of same, authorizing the execution, delivery and performance of this Agreement
                             and the transactions contemplated hereby.


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              (ii)           Bill of Sale; Assignment and Assumption Agreement. The Bill of Sale and the
                             Assignment and Assumption Agreement, with each properly executed.

              (iii)          Consents. Any and all Consents.

        (b)           Buyer’s Obligations. On the Closing Date, Buyer shall deliver to Seller the following:

               (i)           Resolutions. If requested by Seller in writing, Buyer shall deliver copies of
                             resolutions of Buyer authorizing the execution, delivery and performance of this
                             Agreement and the transactions contemplated hereby; and

              (ii)           Payment. The Closing Date Payment.

        (c)           Joint Obligations. On the Closing Date, the Parties will deliver each to the other the
                      certificates, records, schedules, exhibits, and the other documents required by the terms of
                      this Agreement.

14.     Seller’s Restrictive Covenants.

        (a)           Acknowledgments of the Parties. The Seller acknowledges, agrees and expects that the
                      Buyer will continue to invest significant time, money and resources to develop and
                      maintain the Assets and the Business, including without limitation the Goodwill associated
                      with the Business and its Customers/Suppliers (each as defined below).

        (b)           Restrictive Covenants. The Seller hereby agrees that as soon as possible, the Seller shall
                      wind-up its final outstanding business and file articles of dissolution with respect to the
                      Seller, its subsidiaries and its directly affiliated entities.

15.     Additional Provisions.

        (a)           [INTENTIONALLY OMITTED]

        (b)           Notices. All notices given in connection with or pursuant to this Agreement shall be in
                      writing and shall be effective only if delivered personally to, or sent by registered or
                      certified mail, postage prepaid, return receipt requested, to the Parties as follows:

                             To Buyer:

                                      Watertech Asset Acquisition Group, LLC
                                     In care of:
                                     875 Walt Miller Street, Suite A1
                                     Mount Pleasant, SC 29464
                                     Attention: Scott Alderson

                             To Watertech:

                                     Watertech Holdings, LLC (f/k/a Watertech Equipment and Sales, LLC)
                                     In care of:
                                     4360 Corporate Rd.
                                     Suite 100
                                     North Charleston, SC 29405

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                       Attention: Bob Fei

  (c)   Assignment; Successors and Assigns. This Agreement or any right hereunder shall not be
        assigned by any Party without the written consent of the other Party(ies). Subject to the
        previous sentence, this Agreement shall inure to the benefit of and be binding upon the
        successors, heirs, distributees, legal representatives and assigns of the respective Parties
        hereto.

  (d)   Entire Agreement. This Agreement constitutes the entire agreement between the Parties
        hereto relating to the transactions contemplated hereunder, and may not be changed except
        by an instrument in writing signed by all Parties and approved by the Court. This
        Agreement may be executed in any number of counterparts and each counterpart shall
        constitute an original instrument, but all such separate counterparts shall constitute only
        one and the same instrument.

  (e)   Partial Invalidity. In case any one or more of the provisions contained herein shall, for any
        reason, be held to be invalid, illegal or unenforceable in any respect, such invalidity,
        illegality or unenforceability shall not affect any other provisions of this Agreement, but
        this Agreement shall be construed as if such invalid, illegal or unenforceable provision or
        provisions had never been contained herein.

  (f)   Titles and Headings. Titles and headings to sections herein are inserted for convenience of
        reference only and are not intended to be a part of or to affect the meaning or interpretation
        of this Agreement.

  (g)   Third Party Beneficiaries. Each Party hereto intends that this Agreement shall not benefit
        or create any right or cause of action in or on behalf of any person or entity other than the
        Parties hereto, including their proper successors and assigns.

  (h)   Waiver of Jury Trial. EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES,
        TO THE FULLEST EXTENT PERMITTED BY LAW, ALL RIGHTS TO TRIAL BY
        JURY IN ANY ACTION, PROCEEDING, OR COUNTERCLAIM (WHETHER BASED
        UPON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
        THIS AGREEMENT OR ANY OF THE TRANSACTIONS CONTEMPLATED
        HEREBY.

  (i)   Commissions, Brokers and Finders’ Fees. Each of the Parties represents that the
        negotiations relative to this Agreement and the transactions contemplated hereby have been
        carried on by Seller directly with Buyer and in such manner as not to give rise to any claims
        against any of the Parties hereto for a brokerage commission, finders’ fee or other like
        payment. Insofar as any such claims are made which are alleged to be based on an
        agreement or arrangements made by, or on behalf of, a Party, such Party agrees to defend,
        indemnify and hold the other party harmless from and against all such liability, loss, cost,
        charge or expense, including reasonable counsel fees, as may arise therefrom.

  (j)   Expenses. Each Party hereto will bear the legal, accounting and other expenses incurred
        by such Party in connection with the negotiation, preparation and execution of this
        Agreement and the transactions contemplated hereby.

  (k)   Waiver of Compliance. Any failure of Seller, on the one hand, or Buyer, on the other, to
        comply with any obligations, covenants, agreements or conditions herein may be expressly

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           waived in writing by Buyer or Seller(s), respectively, but such waiver or failure to insist
           upon strict compliance with such obligation, covenant, agreement or condition shall not
           operate as a waiver of, or estoppel with respect to, any subsequent or other failure.

  (l)      Confidentiality; Public Announcement. With respect to all information disclosed by either
           Party to the other in connection with this Agreement, and its exhibits, and not contained
           herein, are confidential and may only be disclosed by the parties to their respective
           directors, advisers and employees on a need to know basis. Notwithstanding the foregoing,
           any disclosure of information required by the Bankruptcy Court with respect to the
           transactions contemplated herein shall not be a breach of this confidentiality obligation;
           and, further, upon the Closing, Buyer shall have the right and discretion to draft and
           disseminate a public announcement and/or press release describing the purchase of the
           Business by Buyer and the industry-related consequences thereof.

  (m)      Non-Disparagement. No Party will disparage or otherwise publish or communicate
           “derogatory” statements or opinions about the other Party or such Party’s businesses or
           personnel, be it verbally or in writing. For purposes of this Agreement, “derogatory” means
           a statement that detracts from a Party’s character, standing, or reputation.

  (n)      Governing Law; Etc.

        (i)       This Agreement and the legal relations among the Parties hereto shall be governed
                  by and construed by the Court in accordance with the laws of the State of South
                  Carolina, without regard to any conflicts of law doctrine.

        (ii)      Any action or proceeding based on this Agreement shall be brought only in the
                  Court which shall maintain jurisdiction over the Case and this Agreement to the
                  fullest extent allowable. Buyer and Seller hereby submit to the exclusive personal
                  jurisdiction of the Court, and waive any rights to contest same including without
                  limitation based upon allegations of inconvenient forum. In the event of litigation
                  or other formal proceedings involving this Agreement, the non-prevailing party
                  shall reimburse the prevailing or substantially prevailing party for all costs and
                  expenses, including reasonable attorneys’ fees and expenses, incurred in
                  connection with any such litigation, including any appeal. In the event any party
                  requires equitable relief, including without limitation due to any breach by any of
                  Seller of the restrictive covenants set forth in Section 14 hereinabove, said party
                  may seek preliminary or permanent injunctive relief including without limitation
                  by seeking a temporary restraining order, on an ex-parte basis, and without any
                  requirement to post a bond, which requirement (if any) is hereby deemed waived.

               [REMAINDER OF PAGE LEFT BLANK INTENTIONALLY]
                           (signatures on following page)




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IN WITNESS WHEREOF, the Parties hereto have executed this First Amended and Restated Asset
Purchase Agreement, as of the Modification Date first set forth herein above.


BUYER:

WATERTECH ASSET ACQUISITION GROUP, LLC



By: Steven Gareleck
Its: Manager




SELLER:

WATERTECH HOLDINGS, LLC (F/K/A WATERTECH EQUIPMENT AND SALES, LLC)


_____________________________________
By: __________________________________
Its: Managing Member




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                                            EXHIBIT 1
                            TO THE FIRST AMENDED AND RESTATED
                                ASSET PURCHASE AGREEMENT

                                              THE ASSETS

Intellectual Property

Patent Filing

EFS ID:                        28998854
Reference Number:              44873-0002WO1
Confirmation Number:           1153
Int’l Application Number:      PCT/US17/28991

Telephone and Internet Assets

Customers and Consumer Lists/Accounts

•    Any and all prospect and potential customer lists and accounts (including without limitation email
     address lists), aggregated, collected, maintained or procured by Seller during or for the operation
     of the Business, through and including the Closing Date, including without limitation customer
     and consumer names, addresses, telephone numbers, fax numbers, emails and account histories,
     etc.
Goodwill

•      Any and all goodwill associated with the Business on and as of the Closing Date

Environmental and Hazard Remediation Technology

Additional Items:
The Watertech derivative lawsuit
That certain Exclusive Patent Sublicense Agreement dated October 31,2017, as amended from time-to-time
The NGI settlement agreement
The NGI promissory note
The NGI stock certificates
All rights related to NDAs, non-competition agreements, ownership of inventions, etc from
employment, consulting or subscription agreements between Watertech or any of its subsidiaries and
any employee, consultant, contractor, unitholder or creditor.
Any restrictive covenant agreements (NDAs, non-competition agreements, etc.)
All consulting agreements between Watertech, or any of its subsidiaries, and any consultant
All employment agreements between Clean Earth Enterprises, or any of its subsidiaries, and any
employee
All consulting agreements between Clean Earth Enterprises, or any of its subsidiaries, and/or any
consultant
All organizational documents, including but not limited to: operating agreements, articles of
organization, by-laws and articles of incorporation for Watertech and its subsidiaries, Clean Earth
Enterprises and its subsidiaries or any other company in which Watertech holds any ownership interest
All organizational documents and agreements involving Algae to Omega LLC, Algae to Omega
Holdings, Algae Matrix Technologies, Clean Earth Algae USA, etc.

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All non-disclosure and/or non-compete agreements between Watertech or its subsidiaries, Clean Earth
Enterprises or its subsidiaries or any other company in which Watertech holds any ownership interest
and its employee, consultant or any other individual doing work on behalf of such entity.




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